            Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 1 of 42 Page ID #:1
AO 91 (Rev. 11/11) Criminal Complaint

           LODGED
    CLERK, U.S. DISTRICT COURT
                                          UNITED STATES DISTRICT COURT                                                           FILED
                                                                                                                       CLERK, U.S. DISTRICT COURT
                                                                       for the
    10/07/2022
                                                          Central District
                                                        __________         of of
                                                                    District  California
                                                                                 __________                                 10/7/2022
 CENTRAL DISTRICT OF CALIFORNIA
               AP
  BY: ____________BB______ DEPUTY
                                                                                                                     CENTRAL DISTRICT OF CALIFORNIA
                     United States of America                             )                                                     D.C.
                                                                                                                       BY: ___________________ DEPUTY

                                v.                                        )
                             Viorel PRICOP
                                                                          )      Case No.   5:22-mj-00644
                                                                          )
                                                                          )
                                                                          )
                                                                          )
                                 Defendant(s)


                                                        CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                        February 28, 2022              in the county of          San Bernardino                     in the
       Central              District of             California        , the defendant(s) violated:

               Code Section                                                         Offense Description
Title 18, USC, Section 844(i)                         Arson of Property in Interstate Commerce




           This criminal complaint is based on these facts:
See attached affidavit.




           ✔ Continued on the attached sheet.
           u

                                                                                    /s/ Pursuant to Fed. R. Crim. P. 4.1
                                                                                                     Complainant’s signature

                                                                                            Jonathan Smith, Special Agent, ATF
                                                                                                      Printed name and title

Sworn to before me and signed in my presence.


Date: 10/7/2022
                                                                                                        JJudge’s
                                                                                                           d ’ signature
                                                                                                                 i

City and state:                                 Riverside, CA                     U.S. Magistrate Judge Shashi H. Kewalramani
                                                                                                      Printed name and title
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 2 of 42 Page ID #:2



                               AFFIDAVIT
I, Jonathan Smith, being duly sworn, declare and state as

follows:

                           I. INTRODUCTION

        1.   I am a Special Agent (SA) with the Bureau of Alcohol,

Tobacco, Firearms and Explosives (“ATF”), United States

Department of Justice, and have been so employed since June of

2020.    I am currently assigned to the Albuquerque I Field

Office, Phoenix Field Division.

        2.   In this capacity, I am tasked with the investigation

of violations of federal criminal law, to include violation of

federal firearms, narcotics, arson and explosives statutes. I am

an investigative or law enforcement officer of the United States

within the meaning of Title 18, United States Code, Section 2510

(7), in that I am an officer of the United States who is

empowered by law to conduct investigations and make arrests for

the offenses enumerated in Title 18, 21, and 26, United States

Code.

        3.   I am a graduate of the Federal Law Enforcement

Training Center Criminal Investigator Training Program, and the

ATF National Academy Special Agent Basic Training Program.

During these programs, I received instruction in and practiced

the investigation of violations of federal firearms, narcotics,

arson and explosives statutes.

        4.   Prior to my employment with ATF, I served as a Police

Officer with the Chandler Police Department in Chandler, Arizona

for approximately seven years.      I am a graduate of the Arizona
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 3 of 42 Page ID #:3



Law Enforcement Academy.     While employed as police officer, I

participated in and conducted hundreds of criminal

investigations involving various State criminal violations.

During that time, I also made hundreds of arrests for violations

of State law.

     5.   As a result of my training and experience, I am

familiar with federal criminal law, including firearms,

narcotics, arson and explosives statutes.        I have also received

training and gained experience in the investigation of

violations of these statutes, and specifically in topics

including; interview and interrogation techniques, arrest

tactics, preparation of arrest and search warrants,

investigative methodology, surveillance techniques, firearms

identification and nomenclature, firearms trafficking

investigations, narcotics investigations, explosives

investigations, and fire related investigations.

                       II. PURPOSE OF AFFIDAVIT

     6.   This affidavit is made in support of a criminal
complaint and arrest warrant for Viorel PRICOP (“PRICOP”) for a

violation of 18 U.S.C. § 844(i) (Arson of Property in Interstate

Commerce) on February 28, 2022.

     7.   The information contained in this affidavit is based

upon your affiant’s personal knowledge, consultation with other

ATF agents, consultation with other law enforcement officers, a

review of documents and reports, interviews, and information

provided to your affiant by other law enforcement officers and

agents of the United States.      This information is not a complete


                                    2
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 4 of 42 Page ID #:4



statement of all the facts related to this case. This affidavit

is intended to show only that there is sufficient probable cause

for the requested warrant and does not set forth all of my

knowledge about this matter.      Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.

                   III. SUMMARY OF PROBABLE CAUSE

     8.    From June 22, 2020, to September 14, 2022, PRICOP set

fire to twenty-five separate fires on tractor trailers owned by

Swift Transportation, a commercial trucking company.          The fires

occurred in eight different states and evinced the same general

modus operandi: the fires were set when the trucks were stopped

at a rest area or fueling station along Interstate highways.

Search warrant returns revealed that a specific cellular

connected device installed in a commercial truck was present at

ten of the fires during the early part of the investigation.

     9.    Agents established that this device was installed on a

tractor trailer owned and operated by PRICOP, a resident of

Allen Park, Michigan.    Agents identified the cellular phone

subscribed to PRICOP and, through historical cellular data

analysis and ping warrants, learned that the phone was present

in the general area of 24 of the 25 fires.        Federal search

warrants were executed on PRICOP’s vehicle and residence,

yielding additional evidence on his involvement in this series

of arson events.

     10.   Further, records checks for PRICOP revealed that he

had been convicted of, among other things, transportation of


                                    3
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 5 of 42 Page ID #:5



stolen goods in the United States District Court for the Eastern

District of Michigan in 2018.      I reviewed documents from that

case and learned Swift cooperated in investigating and

prosecuting that case.     PRICOP was sentenced to about two years’

imprisonment (time served), and PRICOP’s term of supervised

release ended around the June 2019, about one year before the

fires in this case began.

                   IV. STATEMENT OF PROBABLE CAUSE

     11.    On or about January 2022, I was contacted by the New

Mexico State Fire Marshal’s Office and briefed on a series of

fire incidents involving commercial semi-trucks owned and

operated by Swift Transportation, a commercial trucking company.

Swift is a Phoenix, Arizona based interstate truckload shipping

carrier, with over 20,000 trucks, and is the largest common

carrier in the United States.      Swift operates more than 40 major

terminals positioned near major freight centers and traffic

lanes in the United States and Mexico.       I was briefed on

approximately fourteen fire incidents that occurred between June

22, 2020, and January 5, 2022, involving semi-trailers belonging

to Swift.   Since that initial briefing, an additional eleven

Swift owned trailers have been burned, for a total of twenty-

five involved vehicles.     ATF began investigating the previous

fires and any new fires that occurred after January 2022.

     12.    In each of these twenty-five incidents, a semi-

truck/trailer owned by Swift was parked or stopped at a fuel

station or rest area, when a fire occurred in or on the trailer

portion of the commercial vehicle.       These incidents occurred at


                                    4
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 6 of 42 Page ID #:6



different locations, spanning from Barstow, California to

McCalla, Alabama, and most incidents were located along

Interstate Highway 40 and Interstate Highway 10.         As of the

present date, I have learned of nine fires in the State of New

Mexico, three fires in the State of Texas, six fires in the

State of California, three fires in the State of Arizona, and

one fire each in the States of Oklahoma, Louisiana, Arkansas,

and Alabama (three of these fire locations involved two

separately burned trailers at the same or nearby location).           I

requested and reviewed any available police or fire department

records from local agencies involved in each of the above

incidents.

     13.     Local law enforcement agencies and fire service

personnel responded to most of these fire incidents to provide

fire suppression and investigative functions.        However, many of

the early fire incidents were originally dismissed as possible

mechanical issues and any investigative action taken was

minimal.   After numerous fire incidents continued to occur,

Swift employees recognized and were suspicious of the number of

fires occurring over a short period of time.        Swift employees

stated this number of similar fire events had never before

occurred in company history.      Swift began hiring fire

investigation consultants to assist with fire scene

examinations.    A pattern also began to develop when multiple

reports noted substantially similar methods of lighting the

trailers on fire.    The following is a brief summary of each

incident based on my review of local law enforcement reports, my



                                    5
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 7 of 42 Page ID #:7



review of fire origin and cause reports, my review of other

investigative materials, and my conversations with other law

enforcement and Swift employees.

                               FIRE EVENTS

        14.   (Fire #1) On June 22, 2020, at approximately 2:06 a.m.

local time, a fire involving a Swift Transportation trailer

occurred at the TA Travel Center at 2634 U.S. Route 66 in Santa

Rosa, NM 88435.     The fire started and was observed burning

around the rear tires and back end of the semi-trailer.          A very

limited investigation was conducted by local agencies, but they

suspected mechanical equipment failure at the time of

investigation.

        15.   (Fire #2) On June 26, 2020, at approximately 10:40

p.m. local time, a fire involving a Swift trailer occurred in

the parking lot of the Diamond Inn at 115 Barrow Hill Rd. in

Forrest City, AR 72335.     The fire was determined to have started

near the rear wheels of the trailer.       A limited investigation

was completed by local agencies, but the fire case was closed

out with an undetermined cause.      Comments from local

investigators indicated they suspected that rags may have been

stuffed around the tires of the trailer and used to start the

fire.

        16.   (Fire #3) On July 16, 2020, at approximately 1:30 a.m.

local time, a fire involving a Swift trailer occurred at the TA

Travel Center at 1700 U.S. Rte 66 West in Moriarty, NM 87035.

The fire started and was observed in the rear tires of the

trailer while the driver was sleeping in the attached tractor.


                                    6
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 8 of 42 Page ID #:8



Mechanics from the Travel Center extinguished the fire and

stated they observed pieces of paper stuck between the rear,

tandem trailer tires, as well as a puddle of an unknown

flammable liquid behind the tires.

     17.    (Fire #4) On July 24, 2020, at approximately 5:00 a.m.

local time, a fire involving a Swift trailer occurred at the

Flying J Travel Center at 1 Giant Crossing, Jamestown in NM

87347.    The fire was started and observed between two rear tires

of the trailer while the driver was sleeping in the attached

tractor. Local police and fire agencies responded, and

firefighters reported observing a rag stuffed between the two

rear tires on the trailer.     Diesel fuel was also suspected as

present at the origin of the fire.

     18.    (Fire #5) On September 30, 2020 into October 1, 2020,

at approximately 2:00 a.m. local time, a fire involving a Swift

Transportation trailer occurred at the Flying J Travel Center at

2400 S 4th St in Sayre, OK 73662.       The fire was started and

observed burning in the rear cargo area at the back of the

trailer while the driver was sleeping in the attached tractor.

Local police and fire agencies responded, and a private fire

investigator responded to complete a fire origin and cause

report.    This fire investigation found that a lock was cut off

the rear cargo doors of the trailer and cardboard packing

material inside the trailer was ignited at the rear doors.           This

fire was classified as incendiary in nature by a Certified Fire

Investigator contracted by Swift.




                                    7
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 9 of 42 Page ID #:9



     19.    (Fire #6) On October 24, 2020, at approximately 2:50

a.m. local time, a fire involving a Swift trailer occurred at

the Loves Travel Stop at 1900 S Mountain Rd in Tucumcari, NM

88401.   The fire was started and observed burning in the rear

cargo area of the trailer while the driver was sleeping in the

attached tractor.    Local police and fire agencies responded and

determined the fire had been started in the cargo area of the

trailer after the rear doors were unlawfully opened.

     20.    (Fire #7) On October 18, 2021, at approximately 2:30

a.m. local time, a fire involving a Swift trailer occurred at

the Love’s Travel Stop at 126 Lexington Dr in Duson, LA 70578.

The fire was observed on the trailer while the driver was

sleeping in the attached tractor.       A Certified Fire Investigator

contracted by Swift conducted a fire investigation and concluded

the fire originated near the passenger side on the front axle.

However, the investigator concluded that the exact cause of the

fire could not be determined without “additional specialized

examination.”   Limited information was available about this

incident.

     21.    (Fire #8) On November 22, 2021, at approximately 1:28

a.m. local time, a fire involving a Swift trailer occurred at

the Petro Travel Center at 14150 NM-418 in Deming, NM 88030.

The fire was observed in the entire trailer cargo area at the

time of discovery while the driver and his wife were sleeping in

the attached tractor.    Local police and fire agencies responded

to contain the fire and stated in reports that during interview

of the driver, he stated the truck had been parked for numerous



                                    8
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 10 of 42 Page ID #:10



hours prior to the fire, which would preclude a brake fire.            A

Certified Fire Investigator contracted by Swift conducted a

scene examination and concluded the area of origin was the

driver’s side rear trailer wheels.        This investigator further

concluded that the “most probable cause was likely mechanical

friction from the braking system.”        Other Certified Fire

Investigators were later queried about this conclusion and

stated it was not possible to arrive at that conclusion with the

limited examination that was conducted.

      22.   (Fire #9) On December 6, 2021, at approximately 2:59

a.m. local time, a fire involving a Swift trailer occurred near

the Mobil gas station at 48157 Memorial Drive in Newberry

Springs, CA.    Very limited information from local investigators

is currently available about this incident.

      23.   (Fires #10 and #11) On December 19, 2021, at

approximately 10:12 p.m. local time, a fire involving two Swift

trailers occurred at the Pilot Travel Center at 1124 E Motel

Drive in Lordsburg, NM 88045.       Two Swift tractor-trailers were

parked at this Travel Center approximately five truck spaces

away from each other when separate fires occurred on each Swift

trailers only minutes apart.       Both vehicles had drivers sleeping

in the attached tractors at the time of fire.         Local police and

fire agencies responded to contain the first fire reported and

then observed the second fire shortly after arrival.          Both fires

started and were observed burning near the rear wheels of the

trailers.




                                     9
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 11 of 42 Page ID #:11



      24.   (Fire #12) On December 25, 2021, at approximately 1:45

a.m. local time, a fire involving a Swift trailer occurred at

the Pilot Travel Center at 1200 Hillcrest Dr S in Sulphur

Springs, TX 75482.     The fire was observed in the entire trailer

cargo area at the time of discovery, while the driver was

sleeping in the attached tractor.        Local police and fire

agencies responded to contain the fire.        A Certified Fire

Investigator contracted by Swift conducted a scene examination

and concluded this fire was incendiary in nature.

      25.   (Fire #13) On January 1, 2022, at approximately 3:07

a.m. local time, a fire involving a Swift Transportation trailer

occurred at the Loves Travel Stop at 9701 I-40 in Panhandle, TX

79068.   The fire started and was observed by witnesses at the

rear of the trailer while the driver was sleeping in the

attached tractor.     This fire in the Swift trailer eventually

spread to another semi-trailer parked alongside the Swift

tractor-trailer.     Local police and fire agencies responded to

contain the fire.     A Certified Fire Investigator contracted by

Swift conducted an examination of the trailer after it was

already removed from the original scene.         This inspection proved

inconclusive due to that removal, probable destruction of the

trailer during removal, and other factors, but the investigator

included this fire in his report documenting his investigation

of incendiary fires involving Swift trailers.

      26.   (Fire #14) On January 6, 2022, at approximately 12:56

a.m. local time, a fire involving a Swift trailer occurred at

the Loves Travel Stop at 22183 AL-216 in McCalla, AL 35111.



                                    10
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 12 of 42 Page ID #:12



Local police and fire agencies responded to contain the fire,

but limited information from local investigators is currently

available about this incident.

      27.    (Fire #15) On January 14, 2022, at approximately 3:29

p.m. local time, a fire involving a Swift trailer occurred at

the Petro Travel Center at 110 I-35 Frontage Rd. in Pearsall, TX

78061.    This fire was observed on the rear of the trailer while

the driver was sleeping in the attached tractor.          This is the

first scene that occurred after ATF became involved in this

investigation, and an ATF Certified Fire Investigator responded

to this scene to conduct a fire Origin and Cause examination and

report.     During investigation, findings revealed that the fire

originated at the tires of the trailer, and cloth material was

discovered around the trailer tires.        An ATF laboratory

examination of fire debris from this scene, including the cloth

material, indicated the presence of an ignitable liquid.           The

ATF CFI assigned to this investigation classified this fire as

incendiary in nature.     An additional CFI contracted by Swift

also participated in the examination of the trailer and likewise

classified the fire as incendiary.

      28.    (Fire #16 and #17) On February 7, 2022, at

approximately 2:30 a.m. local time, a fire involving two

separate Swift trailers occurred at the TA Travel Center at 1501

N Fort Grant Rd. in Willcox, AZ 85643.        Two Swift vehicles were

parked in the same parking lot approximately four parking spaces

apart from one another when fires occurred on the trailers of

each vehicle at nearly the same time.        Both vehicles had



                                    11
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 13 of 42 Page ID #:13



sleeping drivers in the attached tractors at the time of fire.

An ATF Certified Fire Investigator responded to this scene to

conduct a fire Origin and Cause examination and report.           During

investigation, findings revealed that the fire originated at the

rear tires of the trailers, and remnants of a rag or cloth

material was discovered between the wheels of one trailer.           An

ATF laboratory examination of fire debris from this scene,

including the cloth material, indicated the presence of an

ignitable liquid.     The ATF CFI assigned to this investigation

classified these fires as incendiary in nature.          An additional

CFI contracted by Swift also examined the trailers and likewise

classified the fires as incendiary.

      29.   (Fire #18) On February 9, 2022, at approximately 9:00

p.m. local time, a fire involving a Swift Transportation trailer

occurred near a Chevron fuel station at 25635 South Crucero Rd.

in Ludlow, CA 92338.     This fire was observed on the rear of the

trailer while the driver was sleeping in the attached tractor.

An ATF Certified Fire Investigator responded to this scene to

conduct a fire Origin and Cause examination and report.           During

investigation, findings revealed that the fire originated at the

tires of the trailer, and cloth material was discovered between

the wheels of the trailer during fire scene examination.           An ATF

laboratory examination of fire debris, including the cloth

material, indicated the presence of an ignitable liquid.           The

ATF CFI assigned to this investigation classified this fire as

incendiary in nature.     An additional CFI contracted by Swift




                                    12
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 14 of 42 Page ID #:14



also participated in the examination of the trailer and likewise

classified the fire as incendiary.

      30.   (Fire #19 and #20) On February 20, 2022, at

approximately 2:25 a.m. and 2:50 a.m. hours local time, two

fires involving Swift trailers occurred at the Flying J Travel

Center at 2021 S. Mountain Rd. in Tucumcari, NM 88401 and at the

Love’s Travel Stop at 1900 S. Mountain Rd. in Tucumcari, NM

88401.   In each of these incidents, a fire was observed at the

wheels of each trailer while the drivers were sleeping in the

attached tractors.     These two locations are directly across the

street from one another, and the two fires started within a 30-

minute period.    An ATF Certified Fire Investigator responded to

these scenes and conducted a fire Origin and Cause examination.

During investigation, findings revealed that the fire originated

at the tires of both trailers, and cloth material was discovered

between the wheels of both trailers during fire scene

examination.    The cloth material collected was submitted for ATF

laboratory examination and found to contain an ignitable liquid.

The ATF CFI assigned to this investigation classified these

fires as incendiary in nature.       An additional CFI contracted by

Swift also participated in the examination of the trailers and

likewise classified the fires as incendiary.

      31.   (Fire #21) On February 28, 2022, at approximately 1:06

a.m. local time, a fire involving a Swift trailer occurred at

the TA Travel Center at 2930 Lenwood Rd., Barstow, CA 92311.

This fire was observed on the rear of the trailer by another

passing driver while the victim vehicle driver was sleeping in



                                    13
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 15 of 42 Page ID #:15



the attached tractor.     The driver was able to disconnect his

vehicle from the trailer after the fire was discovered.           An ATF

Certified Fire Investigator responded to this scene to conduct a

fire Origin and Cause examination and report.         During

investigation, findings revealed that the fire originated at the

tires of the trailer, and cloth material was discovered between

the wheels of the trailer during fire scene examination.           The

cloth material collected was submitted for ATF laboratory

examination and found to contain an ignitable liquid.           During

investigation of this fire, surveillance video recordings from

around the time of fire were collected from the TA Travel

Center, including video partially covering the parking area

where the fire occurred.      Images of a suspect vehicle were later

obtained from this video.      The ATF CFI assigned to this

investigation classified this fire as incendiary.

      32.   (Fire #22) On February 28, 2022, at approximately 2:42

a.m. local time, a fire involving a Swift trailer occurred at

12269 Scarbrough Ct., Hesperia, CA 92344 (near the Pilot Travel

Center at 8701 US-395, Hesperia, CA 92311).         This fire occurred

less than two hours after Fire #21 documented above.           This fire

was observed on the rear of the trailer by another passing

driver while the victim vehicle driver was sleeping in the

attached tractor.     The driver was able to disconnect his vehicle

from the trailer after the fire was discovered.          An ATF

Certified Fire Investigator responded to this scene to conduct a

fire Origin and Cause examination and report.         During

investigation, findings revealed that the fire originated at the



                                    14
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 16 of 42 Page ID #:16



tires of the trailer, and cloth material was discovered between

the wheels of the trailer during fire scene examination.            The

cloth material collected was submitted for ATF laboratory

examination and found to contain an ignitable liquid.           The ATF

CFI assigned to this investigation classified this fire as

incendiary.

      33.   During investigation of Fire #22, surveillance video

recordings from around the time of fire were collected from a

business near the fire scene.       The video was reviewed and a view

of the victim truck at the time of fire was discovered.           On this

video, approximately 15 minutes before fire became visible on

the Swift Trailer, a dark colored tractor-trailer with attached

white trailer was observed pulling alongside the Swift vehicle

where it remained for approximately 15 minutes.          The dark

tractor-trailer was then observed rapidly leaving the area, and

fire appeared on the wheel area of the Swift trailer.           Only a

general description and image of this suspect vehicle was able

to be gathered from the video.       However, images from the video

obtained in Fire #21 and this video from Fire #22 were compared,

and a suspect vehicle matching the same description was observed

on both videos near the times of fire.

      34.   (Fire #23) On March 1, 2022, at approximately 3:16

a.m. local time, a fire involving a Swift trailer occurred at

the Hopi Travel Plaza at 1851 State Hwy. 77, Holbrook, AZ 86025.

This fire was observed on the rear of the trailer by another

passing driver while the victim vehicle driver was sleeping in

the attached tractor.     The driver was able to disconnect his



                                    15
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 17 of 42 Page ID #:17



vehicle from the trailer after the fire was discovered.           An ATF

Certified Fire Investigator responded to this scene to conduct a

fire Origin and Cause examination and report.         During

investigation, findings revealed that the fire originated near

the back of the trailer, and cloth material was discovered

around the wheels of the trailer during fire scene examination.

The cloth material collected was submitted for ATF laboratory

examination and found to contain an ignitable liquid.           The ATF

CFI assigned to this investigation classified this fire as

incendiary.    An additional CFI contracted by Swift also

participated in the examination of the trailer and likewise

classified the fire as incendiary.

      35.   (Fire #24 and #25) On September 14, 2022, at

approximately 12:27 a.m. local time, two additional fires

involving Swift trailers occurred at the TA Travel Center at

46155 Dillon Rd., Coachella, CA 92236.        Both of the Swift

tractor-trailers involved in these fires were parked in the same

parking area behind the business, with other uninvolved

company’s commercial vehicles parked between them, none of which

caught fire.    A fire was observed by a passerby at the wheels of

each separate Swift trailer, while the drivers of the Swift

trucks were sleeping in the attached tractors.          An ATF Certified

Fire Investigator responded to these scenes and conducted a fire

Origin and Cause examination.       This investigation is still

ongoing.    However, preliminary findings revealed that the fire

started at the tires of both trailers in the same area of origin

as the other fires documented in this series.



                                    16
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 18 of 42 Page ID #:18



                         INVESTIGATIVE ANALYSIS

      36.   Around the beginning of 2022, after examining the

available information and data from each described incident in

this series of fires up until that point, I believed that the

same person, or persons, were responsible for the incendiary

fires.   This number of fire incidents on parked vehicles in such

a short span of time had never occurred in the reported history

of Swift based on conversations with their employees.           When I

examined the available information from each fire in this

series, there were several patterns that developed.          Each fire

involved a vehicle fully marked and identified as a Swift

vehicle, and no other trucking companies in the industry have

reported fires similar to the events in this series.          Each fire

occurred in the trailer section of the vehicles, and most have

been determined to have started near or on the trailer tires.

Once investigators were able to locate evidence and begin to

identify a method used by the suspect(s) to light the fires,

substantially similar evidence of an incendiary device was found

in matching locations on the burned trailers and collected from

multiple scenes.     Each fire in the series occurred near a large

U.S. highway, and the time between events would allow ample time

for a single suspect to travel between scenes.

      37.   I also believed it may be possible to identify and

locate the suspect arsonist(s) by analyzing cellular device data

that appeared in cellular service provider’s records around the

time and location of each of the fire events listed above.           In

accord with that belief, I obtained multiple federal court



                                    17
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 19 of 42 Page ID #:19



orders in the District of New Mexico seeking cell phone “tower

dumps,” in addition to other investigative efforts.          A cell

phone tower dump is defined as a download of information on all

the devices that connected to a particular cell site during a

particular interval.     A typical tower dump is confined to a

small area and as small of a time interval as possible.           As

mobile cellular device users move, their devices will connect to

nearby cell towers to maintain a strong signal, even when the

device is not actively in use.       These towers record certain

identifying information about the devices which can be used to

proximally locate a device and therefore its attributed user.

No content from any device’s transmission is obtained during a

tower dump.    These tower dump authorizations were made in

attempts to identify common devices, and through those devices

possibly person(s) who were present at the locations where the

listed fires occurred.

                    CELLULAR DEVICE IDENTIFICATION

      38.    I obtained the above-described tower-dump orders and
served them to cellular service providers AT&T, T-Mobile

Wireless, and Verizon Wireless.       These three cell providers

maintain control over most active cellular towers in the United

States.     Data from the tower dumps I requested was received and

analyzed by an ATF Intelligence Research Specialist, and a

cellular connected device identified by the Mobile Station

Integrated Services Digital Network Number (“MSISDN”) #882-

350815227830, International Mobile Subscriber Identity (“IMSI”)

#310170815227830, and International Mobile Equipment Identifier


                                    18
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 20 of 42 Page ID #:20



(“IMEI”) #3569610723185305 (hereafter referred to as “Target

Cellular Device”) was discovered at the location of Fires #12,

14, 16, 17, 18, 19, 20, 21, 22 and 23. 1       This device was

discovered in the data provided by the cellular service provider

AT&T, indicating the device was operating on the AT&T cellular

network.

      39.   I conducted research into these identifying numbers

used by the AT&T network and learned that an MSISDN, such as the

number found in the AT&T data, is an assigned number that

particularly identifies a device during calls or data sessions.

If the cellular device being examined were a cell phone, this

MSISDN number would be referred to as the device phone number.

The IMSI number is a unique 15-digit identifier given to each

mobile subscriber and is stored on the Subscriber Identity

Module (“SIM”).    The IMSI consists of a MCC (“Mobile Country

Code”), a MNC (“Mobile Network Code”) and a MSIN (“Mobile

Station Identification Number”) linking the device to a specific

country, a specific network within that country, and to a

specific customer.     The IMEI number is a 15 or 16-digit number

that uniquely identifies an individual wireless device.           The

first 14 digits are unique, and the 15th digit is a check digit

that validates the prior 14 digits.        A 16-digit IMEI is an

“IMEISV.” SV Stands for software version number.          The last two

digits identify the software version.




      1Fires #24 and 25 had not yet occurred when I obtained the
tower dump.

                                    19
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 21 of 42 Page ID #:21



      40.    No other devices listed in the data collected during

this investigation appeared at the number of scenes the Target

Cellular Device appears.      Many devices appeared at two of the

fire locations; a couple of devices appeared at three of the

fire locations; and the Target Cellular Device appeared at ten

of the locations based on the available data.         Each additional

instance of the device being present was exponentially less

likely to be a coincidence.      These facts led me to believe the

Target Cellular Device identified above, operating on the AT&T

cellular network, was associated with an individual who was

directly involved, or may have information about the subject

directly involved, in the setting of these incendiary fires.

      41.    I conducted numerous open-source inquiries into the

Target Cellular Device and discovered the device identified on

the AT&T network was connected with a company called “Geotab.”

Geotab is a Canadian-based commercial telematics provider who

specializes in connecting vehicles to internet or satellite-

based services and providing resources to help organizations

with fleet management tasks.       Through that research, I learned

that the Target Cellular Device discovered during my

investigation was possibly a type of device consistent with

those used in the commercial vehicle industry to track and

monitor the location and condition of cargo or vehicles in

transport.    These types of devices continuously monitor and

report the location of the device attached to a vehicle or

container, among other possible data points.         Due to these

facts, it was my belief that the described Target Cellular



                                    20
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 22 of 42 Page ID #:22



Device was a device present on a vehicle or container being

utilized repeatedly and frequently by a person who was present

at the time of incendiary fires listed above at least ten

different times.

       TRACKING OF SUSPECT DEVICE AND VEHICLE IDENTIFICATION

      42.   On March 23, 2022, I authored and obtained a search

warrant and pen-register order for the Target Cellular Device,

authorizing the active monitoring and receipt of prospective

cell-site data and pen-register data, as well as historical

location information for the Target Cellular Device.          The

Honorable Jerry H. Ritter issued a warrant authorizing the above

in the District of New Mexico.       Under that warrant and

subsequent extensions, ATF agents have been regularly monitoring

the location and travel directions of the Target Cellular Device

since that date.

      43.   The historical location data received pursuant to that

same court order indicated the device had traveled cross-country

on a frequent basis, on numerous interstate highways including

those where fires in this series occurred.         The device traveled

anywhere from New York to California, and many states in

between.    The real-time or prospective location data received

was of sufficient quality to identify general pattern of

locations of the device and to establish roadways likely

traveled and directions of travel over time.

      44.   On March 29, 2022, while remotely monitoring the

location of the Target Cellular Device, I saw the device begin

to travel westbound on Interstate 10 in the Arizona, before


                                    21
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 23 of 42 Page ID #:23



eventually crossing into the Central District of California at

approximately 10:49 p.m.      It then left the Central District of

California, traveling south to Calexico, California, on the

morning of March 30, 2022.      At approximately 2:00 p.m. the

device then crossed back into the Central District of California

and remained near Indio.      At approximately 2:54 p.m. the

Honorable Kenly Kiya Kato issued a warrant authorizing the

interception of cell site location information, precision

location information, and the use of a cell site simulator in

the Central District of California to identify the Target

Cellular Device’s precise location.

      45.   On March 30, 2022, ATF agents conducted a surveillance

operation in California where the device appeared to be located

based on the information received pursuant to the warrant and

pen register order previously obtained.        ATF agents initiated

surveillance in the area of the Love’s Travel Stop located at

45-761 Dillon Rd., Coachella, CA.        At approximately 6:00 p.m.,

agents observed a dark, maroon colored tractor-trailer parked in

a small area away from other vehicles across the street from the

Love’s Travel Stop.     The vehicle shape, size and features were

consistent with suspect vehicles observed in surveillance video

from Fires #21 and #22.      ATF agents observed and photographed

identifying markings on the tractor, including the company name

“Vestra Logistics LLC”, USDOT #3161269, and MC#111369.           The

tractor portion did not have a visible license plate affixed to

the front of the vehicle.      The trailer connected to this tractor

was identified as a white in color box van with a refrigeration



                                    22
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 24 of 42 Page ID #:24



unit, bearing Michigan license plate D982313.         This license

plate did not return with a current registration when queried in

motor vehicle and law enforcement databases.

      46.    Between 6:00 p.m. and 8:45 p.m. on March 30, 2022,

agents saw the vehicle parked in the same location without

moving.     During this time, geolocation information showed the

Target Cellular Device stationary in the same area where the

agents were conducting surveillance.        ATF agents then saw the

truck begin to leave the area and travel on the highway at

approximately 8:47 p.m.      Assisting California Highway Patrol

troopers conducted a traffic stop on the tractor-trailer for an

unrelated traffic violation several miles away from the truck

stop where the vehicle was identified.        During the traffic stop,

the driver and sole occupant of the vehicle was identified as

PRICOP.     The tractor PRICOP was driving (hereafter referred to

as the “Subject Vehicle”) was identified as a 1997 Kenworth

T2000, with Michigan license plate RC06532

(VIN#1XKTDB9X8VJ741810).      The license plate for the tractor

portion of the Subject Vehicle was located inside on the

dashboard of the vehicle with the numbers and markings facing

inside so they could not be observed outside the tractor.           This

license plate was queried in law enforcement and motor vehicle

databases and returned with registered owner Laurentiu Resteman.

However, further investigation discovered that the vehicle was

titled in the State of Michigan with listed owner PRICOP.

During the traffic stop, CHP troopers also viewed a State of

Michigan vehicle registration card that listed PRICOP as the



                                    23
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 25 of 42 Page ID #:25



“Owner (Lessor)” of the tractor, as well as Laurentiu Resteman

listed as a “Lessee.”     CHP troopers completed the traffic stop

after this identification and PRICOP left the area.          No other

subjects were present in the tractor.

      47.   ATF agents noted that cell site and ping information

from the live time intercept showed movement away from the truck

stop at the same time they saw PRICOP’s tractor leave the stop

and enter the highway.      They noted location information around

where he was stopped by CHP officers during the same time frame.

After PRICOP was released from the traffic stop, agents noted

cell site and ping locations consistent with the Subject Vehicle

traveling away westbound.       All of these investigative steps

helped agents to confirm that the Subject Vehicle driven by

PRICOP contained the Target Cellular Device agents were

tracking.

                         SUSPECT IDENTIFICATION

      48.   During the traffic stop described above, the driver of

the Subject Vehicle was identified as PRICOP.         I conducted a
records review using PRICOP’s personal identifiers and

discovered PRICOP had an extensive criminal history in numerous

states, including previous federal felony convictions in the

Eastern District of Michigan, Case Number 2:17-CR-20188, for

Interstate Transportation of Stolen Property and Aiding or

Assisting the Preparation of a False Return.         In this case,

PRICOP was documented as involved in the repeated theft of cargo

from commercial vehicles, including those operated by Swift.

After a joint investigation by HSI, Michigan State Police, Swift


                                    24
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 26 of 42 Page ID #:26



Transportation Security, and others, PRICOP was arrested and

convicted of federal charges related to this case.          This

information indicated a connection explaining why PRICOP may be

motivated to target Swift vehicles.        Continued examination into

the details of this former case revealed that PRICOP was also

contacted at that time by a Swift Security Investigator who told

PRICOP face-to-face that Swift had caught him through their

investigation.

      49.   PRICOP served a prison term of approximately 815 days

related to the above-mentioned criminal case and was released

from federal prison on approximately June 28, 2018.          PRICOP

began a 12-month term of supervised release after serving his

prison sentence.     Notably, PRICOP concluded his supervised

release approximately one year prior to Fire #1 in this

investigation.

      50.   Additional law enforcement records queries conducted

using the Subject Vehicle identifiers resulted in the discovery

of several other records demonstrating PRICOP in possession and

control of the Subject Vehicle.       One example was a

Driver/Vehicle Examination Report from the Missouri State

Highway Patrol, dated March 26, 2022, at approximately 9:57

a.m.–11:02 a.m.    This document identified PRICOP as the driver

of the same Subject Vehicle, including tractor and trailer, at

the time of the inspection at a specific location in Missouri.

ATF agents were able to review historical location data from the

Target Cellular Device and found correlating evidence indicating

the device was stopped at the same location found in the MSHP



                                    25
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 27 of 42 Page ID #:27



Report, for the same period.       The same Subject Vehicle ATF

agents saw in California on March 30, 2022 was identified in the

report of MSHP inspection on March 26, 2022.

      51.   An additional record demonstrating PRICOP in

possession and control of the Subject Vehicle consisted of a

License Plate Reader record dated February 8, 2022 collected at

an LPR location near Indio, CA.       On that date, the Subject

Vehicle was recorded passing through an LPR checkpoint and

photographs of the vehicle were recorded.         In these photographs,

a subject closely resembling PRICOP is in the driver’s seat of

the Subject Vehicle.     Numerous other LPR records involving the

Subject Vehicle were also located in many different parts of the

United States, although these other records did not include

photographs of the vehicle driver.

                     TRACKING DEVICE INSTALLATION

      52.   On March 31, 2022, while remotely monitoring the

location of the Target Cellular Device, ATF agents saw the

Subject Vehicle traveling eastbound on Interstate 10 in
California, before eventually crossing over the border into

Arizona at approximately 2:14 p.m.        The Subject Vehicle

continued traveling on Interstate 10 in Arizona.          At

approximately 4:00 p.m., the Subject Vehicle stopped near a gas

station in Tolleson, Arizona where it remained for some time.

At approximately 5:30p.m. on March 31, 2022, the Honorable

Michelle Burns issued a warrant in the District of Arizona

authorizing the installation of a tracking device on the Subject

Vehicle.


                                    26
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 28 of 42 Page ID #:28



      53.   On March 31, 2022, ATF agents initiated a surveillance

operation on the Subject Vehicle in Arizona.         At approximately

7:20 p.m., ATF agents saw PRICOP parking the Subject Vehicle at

the Pilot Travel Center at 14905 Cordes Lake Rd., in Cordes

Lake, AZ, before entering the business for a short period.           At

that time, ATF agents completed installation of a tracking

device on the Subject Vehicle.       Agents were able to continue

monitoring the location of the Subject Vehicle remotely after

the installation.

                  IDENTIFICATION OF TARGET CELL PHONE

      54.   After PRICOP was identified as involved and in control

of the Subject Vehicle, I requested or completed numerous open-

source records queries in attempts to identify a cellular phone

attributed to him.     I located numerous records indicating the

telephone number (313) 290-7196, serviced by T-Mobile Wireless,

was assigned to PRICOP.      On April 11, 2022, I requested

subscriber identifying information for the telephone number

(313) 290-7196.    I received a return response from T-Mobile on

April 13, 2022.    This response from T-Mobile indicated telephone

number/MSISDN (313) 290-7196 (hereafter referred to as “Target

Cell Phone”) was assigned to subscriber Viorel PRICOP, and it

included his name and social security number.         Additionally,

these records also indicated this account had been open and

attributed to PRICOP since August 27, 2019, the date which

service with T-Mobile was initiated.

      55.   In addition to the above, ATF personnel were able to

complete a query of the telephone number (313) 290-7196 in the


                                    27
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 29 of 42 Page ID #:29



tower dump information collected during this investigation.            In

these records, the telephone number (313) 290-7196 appeared in

the tower dump data collected from the locations around Fire

#10, 11, and 18.     This information indicated that the Target

Cell Phone was physically present, and attempted or completed a

phone call or message, while located in the area of those three

fire scenes.

      56.   After learning of the above facts, I believed that

comparing historical location information from the Target Cell

Phone and the historical location information from the Target

Cellular Device attached to the Subject Vehicle would provide

evidence either confirming or dispelling the reasonable belief

that PRICOP was present at the fire scenes documented in this

investigation, along with the Subject Vehicle.          I requested and

obtained a search warrant in the District of New Mexico

authorizing the collection of historical location information

from the Target Cell Phone.      This warrant covered the entire

period in which the fire events in this series occurred.           This

warrant also included an authorization to obtain prospective

location information from the same Target Cell Phone, allowing

remote monitoring of PRICOP’s location.

                   HISTORICAL CELLULAR DATA ANALYSIS

      57.   After service of the above-mentioned search warrant

upon T-Mobile Wireless, the historical location information from

the Target Cell Phone was collected and analyzed by ATF Special

Agents and Investigative Research Specialists. The historical

location data from the Target Cell Phone was then compared to


                                    28
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 30 of 42 Page ID #:30



the historical location data previously obtained from the Target

Cellular Device on the Subject Vehicle.        This analysis clearly

resulted in a strong, direct correlation in the location of both

devices beginning in approximately September 2021 through the

end of the data collection period.        The data analysis concluded

that the owner of the Target Cell Phone, Viorel PRICOP, was

likely the same person operating or traveling in the tractor-

trailer with the Target Cellular Device.

      58.   Continued analysis and examination of the historical

location data also indicated that PRICOP’s cellular phone was in

the general area of 22 of the first 23 fires that had occurred

to that date, which are previously described in this affidavit.

When the cellular phone location points were plotted in

conjunction with the times and locations of the incendiary fire

events, a strong, direct correlation was observed with most

documented fires in this series.         Due to limitations of cellular

location data collection, storage, record keeping, or technical

limitations, investigators were not always able to place the

Target Cell Phone device precisely at the fire scenes at the

exact time of the fires.      However, in most cases, the cellular

location data confirmed the device was located in the general

area of the relevant locations during the relevant timeframes.

Investigators also noted a pattern of movement away from many of

the arson scenes either immediately after the reported fire time

or shortly thereafter.

      59.   For example, in Fires #21 and 22 (the two fires from

February 28, 2022, in Hesperia and Barstow, CA, for which I seek



                                    29
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 31 of 42 Page ID #:31



the criminal complaint here), the ping data clearly shows the

Target Cell Phone and the Target Cellular Device pinging near

the fires as they happened and traveling consistently with

PRICOP setting each fire.      The first fire in Barstow occurred at

approximately 1:46 a.m. Mountain Time, 2 and the ping data showed
a mobile data transmission from the Target Cell Phone on a tower

only a few miles away at 1:38 a.m.




After the fire at 1:46 a.m., the data showed the Target Cell

Phone and the Target Cellular Device traveling south toward

Hesperia, where they then pinged on cell towers around Hesperia

at the time of the Hesperia fire at 3:30 a.m.



      2Since the fires occurred across numerous time zones, the
ATF Special Agent analyzing the data converted the time for all
events into Mountain Time for ease of understanding.


                                    30
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 32 of 42 Page ID #:32




This included data access on a cell tower 1.3 miles away from

the site of the Hesperia fire at 3:06 a.m.




                                    31
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 33 of 42 Page ID #:33



Finally, the data showed the Target Cell Phone and the Target

Cellular Device traveling away from Hesperia right after the

fire at 3:30 a.m.




      60.   The data showed a virtually identical pattern for

nearly all of the fire events summarized above.

      61.   ATF investigators also noted other patterns in the

location data received from the cellular devices during analysis

of the historical period from approximately June 2020 through

March 2022.    Agents were able to identify the most accessed cell

site/sector from the the Target Cell Phone.         In my training and

experience, the most accessed cell sites generally indicate

where a cell phone user spends most of their time, which

generally indicates a home or work location being within the

coverage area of the cell site.       The most accessed cell site


                                    32
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 34 of 42 Page ID #:34



during the timeframe of the dataset covering all the fire

incidents in this investigation was located in Allen Park, MI.

Through drivers license records and other law enforcement

databases, I was able to confirm that PRICOP has a listed

residential address at 7837 Kolb Ave., in Allen Park, MI.           This

address was approximately half of a mile from the most accessed

cell site and sector.     I confirmed through available law

enforcement records and databases that PRICOP has been using the

above residential address from at least January 2020 through the

present date.

      62.   The second most accessed cell site over the analyzed

period was approximately three miles to the west of the most

accessed cell site in Allen Park, MI.        This cell site covered

the area of Blue Stars Inc. business at 7525 Holland Rd.,

Taylor, MI.    Using the tracking device that was installed on the

Subject Vehicle, agents were able to confirm that PRICOP was

parking and storing the Subject Vehicle at that address when not

driving it cross country.

                          ONGOING SURVEILLANCE

      63.   ATF investigators have continued to remotely monitor

the location and movement of PRICOP and the Subject Vehicle

throughout this investigation, using a variety of surveillance

techniques.    In addition to previously mentioned investigative

techniques, ATF has conducted mobile and fixed surveillance on a

frequent basis.    This included surveillance of PRICOP while he

was traveling cross-country in the Subject Vehicle.          During each

of these instances, PRICOP was seen operating and driving the


                                    33
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 35 of 42 Page ID #:35



Subject Vehicle.     No other persons were visible in the Subject

Vehicle at any time.

      64.    Surveillance efforts also included in-person

surveillance conducted by ATF agents and task force officers in

August 2022.    During that surveillance, investigators saw PRICOP

operating the Subject Vehicle and parking the vehicle at the

Blue Stars Inc. at 7525 Holland Rd., Taylor, MI 48180.           This

confirmed information already ascertained using cellular

location data and a tracking device previously mentioned.

During surveillance, ATF agents saw PRICOP park and store the

Subject Vehicle on the Blue Stars property and personally move

in and out of the building at that address on numerous

occasions.    PRICOP moved items from various vehicles on the

property, including the Subject Vehicle, into and out of the

Blue Stars commercial building.

      65.    During the described ongoing surveillance activity

from approximately March 2022 through present date, ATF agents

have also seen several personal vehicles associated with PRICOP.

ATF agents, including myself, have seen PRICOP operate or

utilize a maroon in color, 2008 Ford Econoline passenger van,

bearing Michigan license plate EQK5415.        PRICOP has been

repeatedly seen driving this vehicle to and from his residence,

and the Blue Stars business address.        PRICOP was seen moving

unknown items from the Subject Vehicle and Blue Stars facility

into this maroon Ford.      I conducted a records check on this

vehicle and confirmed that the Maroon Ford Econoline is




                                    34
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 36 of 42 Page ID #:36



registered to Viorel PRICOP at 7837 Kolb Ave., Allen Park, MI

48101.

      66.   ATF agents, including myself, also saw a green in

color 2006 Chrysler Town and Country van, bearing Michigan

license plate DXM7387. I conducted a records check on this

vehicle and confirmed that the Chrysler van is registered to

Viorel PRICOP at his residential address 7837 Kolb Ave, Allen

Park, MI 48101.    This vehicle has been parked outside the Blue

Stars facility for an extended period, and it appears that

PRICOP stores the vehicle on that site.

      67.   Surveillance efforts similar to those described above

continued to occur, and ATF agents were able to maintain

awareness of PRICOP’s movements and actions through this

activity.

   DATA ANALYSIS OF MOST RECENT FIRE EVENTS (FIRES #24 and 25)

      68.   On September 14, 2022, at approximately 2:30 a.m., I

was notified of two additional fire events involving Swift

vehicles after approximately six months of no new fires.           After
learning of these fires that occurred on September 14, I

immediately examined prospective cellular location data from

PRICOP’s cell phone and the Target Cellular Device on the

Subject Vehicle, which were still being received pursuant to

previously mentioned federal search warrants.         The location data

from PRICOP’s cell phone clearly showed that he was traveling

westbound along I-10 near these fire locations just prior to the

time of reported fires.      I observed that he appeared to have

stopped and remained in the area near the fire locations for


                                    35
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 37 of 42 Page ID #:37



more than one hour.     I then noted he began traveling westbound

on I-10 once again approximately one hour after the report of

fire to local emergency dispatch.

      69.   At approximately 2:34 p.m. on September 14, 2022, ATF

agents conducted mobile surveillance and located the Subject

Vehicle parked near a truck stop at 11673 S. Etiwanda Ave. in

Fontana, California 92337.      Agents were able to locate the

vehicle using the same prospective cellular location data

previously utilized and identified the Subject Vehicle via

photographs, markings on the doors, and the attached license

plate.   Agents also saw a white male subject seated inside the

vehicle who matched PRICOP’s general description and appearance.

However, this subject did not exit the vehicle and was not able

to be positively identified at that time.

                        SEARCH WARRANT SERVICES

      70.   On September 15, 2022, at approximately 11:45 p.m.

local, while remotely monitoring the location of the Subject

Vehicle and PRICOP via cellular location information, I saw the
Subject Vehicle and PRICOP were present and stopped just outside

Barstow, California.     The Subject Vehicle and PRIOCP remained in

that area in the Central District of California for

approximately 3 hours.      At approximately 12:45 p.m. local on

September 15, 2022, the Honorable Kenly Kiya Kato issued search

warrant 5:22-MJ-00583 in the Central District of California

authorizing a search of the Subject Vehicle for evidence of

criminal involvement in this case.




                                    36
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 38 of 42 Page ID #:38



      71.   In addition to the above warrant, I also authored and

obtained two search warrants in the Eastern District of

Michigan, the District wherein PRICOP’s personal residence and

personal vehicle were located.       On September 15, 2022 at

approximately 2:45 p.m., the Honorable David R. Grand issued

VHDUFKZDUUDQWVí0&í-DQGí0&í-2 in the

Eastern District of Michigan, authorizing the search of PRICOP’s

residence at 7837 Kolb Ave in Allen Park, Michigan, and the

search of the 2008 Ford Econoline Van belonging to PRICOP.           Both

warrants were obtained to authorize a search of those locations

for evidence of criminal involvement in this case.

      72.   On September 16, 2022, at approximately 6:00 a.m., ATF

agents executed search warrant 5:22-MJ-00583 on the Subject

Vehicle, which had traveled near Jamestown, NM, since obtaining

the warrant while it was in the Central District of California.

The search warrant conducted on the Subject Vehicle yielded, in

summary: PRICOP’s cell phones, a tablet computer, two Garmin GPS

devices, numerous external hard drives, cloth/paper rags with

suspected odor of an ignitable liquid, a gas torch, cigarette

lighters, a suspected ignitable liquid, and numerous documents,

receipts, and travel log books.

      73.   While the search was being conducted on the Subject

Vehicle, ATF agents in Michigan also executed search warrants

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his Ford van, which was also located in Michigan.          These search

warrants yielded, in summary: personal computers, cellular

phones, documents, and records.



                                    37
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 39 of 42 Page ID #:39



                          INTERVIEW OF PRICOP

      74.    During the above search warrant services, PRICOP was

detained and transported to a local New Mexico State Police

office for interview.     PRICOP was advised of his Miranda rights

and agreed to speak with agents.         During interview, PRICOP

stated he is the owner of the Subject Vehicle and is the only

driver who uses the tractor.       He further stated that he always

travels alone and does not drive with a second driver or other

passenger.    PRICOP admitted to frequently traveling in the areas

along I-40 and I-10, the areas where a majority of fires have

occurred.    PRICOP provided his cell phone number, confirming

that he owned, possessed, and utilized the cellular phone agents

had been tracking.

      75.    PRICOP was asked about his criminal history, and he

stated that he had an “IRS problem,” presumably speaking about

his previous federal arrest.       PRICOP denied any wrongdoing in

that incident for which he was previously convicted.          PRICOP was

then asked about fire incidents involving Swift vehicles.

PRICOP denied any involvement in setting fires on Swift vehicles

but admitted he had seen a fire on Swift vehicle in the last few

days (presumably referencing Fires #24 and 25).          PRICOP also

vaguely referred to other fires, including one in Texas, but did

not provide specifics.      He also stated that he knew there were

some photographs or videos of at least one fire incident on his

cell phone.

      76.    Throughout the interview, PRICOP continued to deny

that he was responsible for the arsons involving Swift vehicles.


                                    38
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 40 of 42 Page ID #:40



PRICOP indicated he had heard that Swift is a “bad company” and

mentioned that Swift is too big of a company to hurt, stating,

“You cannot hurt Swift.”      Following interview, PRICOP was

permitted to return to the Subject Vehicle and leave the area

pending further review of evidence recovered during the search

warrants.

               EXAMINATION OF SEARCH WARRANT EVIDENCE

      77.   Numerous physical document and digital devices,

including cell phones, computers, and storage devices, were

collected from PRICOP’s tractor-trailer, home, and personal

vehicle.    Those items were imaged and examined for additional

evidence by ATF Digital Forensics Branch personnel and assisting

special agents.    During the examination of two cell phones

seized from PRICOP, which bear numerous identifying accounts and

information linking PRICOP to the device, five videos of Swift

trailers burning were recovered from these two cell phones.

These videos were found to be videos of the fire incidents

documented in this series as Fires #16 and #17 which occurred in

Willcox, AZ on February 7, 2022, and Fire #8 in Deming, NM on

November 22, 2021.     PRICOP’s voice could be heard commenting on

the fires burning on these recordings.

      78.   One of the items seized from PRICOP’s tractor-trailer

was a Garmin Fleet 790 GPS navigation device.         This device bore

identifying labels indicating it was likely capable of utilizing

a cellular connection and is believed to possibly be the Target

Cellular Device previously mentioned in this affidavit.           During

examination of this device, a historical GPS record was observed


                                    39
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 41 of 42 Page ID #:41



indicating on September 13 at approximately 5:55 p.m., PRICOP

was traveling on Interstate 10 between Arizona and California.

A second location record from this device indicated PRICOP was

present near Ontario, CA on September 14, 2022, at approximately

2:58 p.m.    This path of travel further indicates that PRICOP

would have traveled through the Coachella, CA area where the

latest fires in this series occurred, on the date that they

occurred.

      79.    Numerous logbooks, bills of lading, shipping receipts,

and other record keeping documents were obtained in both paper

and digital form from PRICOP’s vehicles and residence.           Many of

these documents were found to contain location information, such

as cargo pickup and delivery dates, which coincided with

locations where fires in this series occurred.          These documents

have provided additional corroborating information related to

numerous of the fires documented in this series.

                          INTERSTATE COMMERCE

      80.    I have spoken with Swift employees through the course
of this investigation and conducted other research, and I have

learned the following.

      81.    The victim of each fire documented in this case,

Swift, is one of, if not the largest interstate truckload

shipping carrier, with over 20,000 trucks and approximately 40

major terminals.     Swift is the largest common carrier in the

United States, providing transport services to a myriad of

different business throughout the United States and other

countries.    During the fires documented in this series, Swift


                                    40
Case 5:22-mj-00644-DUTY Document 1 Filed 10/07/22 Page 42 of 42 Page ID #:42



has experienced loss of equipment and vehicles, loss of cargo

belonging to numerous different customers, and has been

disrupted in their mission of transporting cargo across the

United States.    The Swift vehicles involved in these fires were

each engaged in the transportation of goods between states, and

in some cases, internationally.       At this time, Swift has

estimated a total loss of value of nearly $2,000,000 from these

fire incidents.

                              IV. CONCLUSION

      82.   For all the reasons described above, there is probable

cause to believe that PRICOP has committed a violation of

18 U.S.C. § 844(i) (Arson of Property in Interstate Commerce) on

February 28, 2022.


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 7th
                  ____ day of
October, 2022.



UNITED
    ED STATES
UNITE    ATES MAGISTRATE JUDGE
       STA               J




                                    41
